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1    BENJAMIN B. WAGNER
     United States Attorney
2    MICHAEL D. ANDERSON
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2755
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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )       CASE NO. 2:10-CR-00501 GEB
                                         )
12                Plaintiff,             )
                                         )
13                                       )       ORDER TO INCORPORATE
                                         )       PRELIMINARY ORDER OF
14        v.                             )       FORFEITURE INTO JUDGMENT
                                         )       IN A CRIMINAL CASE
15   ALEJANDRO BIELMA-ORTIZ,             )
                                         )
16                Defendant.             )
                                         )
17
18        The Preliminary Order of Forfeiture entered December 16,
19   2011, is hereby made final as to defendant Alejandro Beilma-Ortiz
20   and shall be incorporated into the Judgment in a Criminal Case
21   filed April 24, 2012
22        SO ORDERED.
23   Dated:    May 4, 2012
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25                                    GARLAND E. BURRELL, JR.
26                                    United States District Judge

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